                  UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF NEW YORK

IN RE EUROPEAN GOVERNMENT BONDS       Lead Case No. 1:19-cv-2601 (VM)
ANTITRUST LITIGATION
                                      Hon. Victor Marrero




 REPLY MEMORANDUM IN FURTHER SUPPORT OF MOTION TO RECONSIDER
   THIS COURT’S DECISION DENYING DEFENDANTS NATIXIS S.A., NOMURA
  INTERNATIONAL PLC AND NOMURA SECURITIES INTERNATIONAL, INC.’S
 MOTION TO DISMISS THE THIRD AMENDED CONSOLIDATED CLASS ACTION
                            COMPLAINT
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I.       DEFENDANTS HAVE NOT WAIVED ANY ARGUMENTS

         Plaintiffs erroneously claim that Defendants “argue[] new theories that Defendants failed

to previously raise” in their three-page pre-motion letter, which the Court converted into a

Motion to Dismiss. Pls.’ Mem. of Law in Opp. to Mot. to Reconsider (“Opp.”) at 1. The Motion

properly elaborates on and provides further authority for the basic arguments outlined in the pre-

motion letter, and the pre-motion process does not waive arguments raised in the Motion. See JP

Morgan Chase Bank, N.A. v. Law Office of Robert Jay Gumenick, P.C., 2011 WL 1796298, at *3

(S.D.N.Y. Apr. 22, 2011) (Marrero, J.) (insufficient service argument not waived by omitting it

from pre-motion letter).2 The TAC is deficient in many ways, and the Court can and should

require more. Trump v. Vance, 2020 WL 4861980, at *9 (S.D.N.Y. Aug. 20, 2020) (Marrero, J.)

(observing Twombly’s admonition that “proceeding to antitrust discovery can be expensive” and

“a district court must retain some power to insist upon some specificity in pleading before

allowing a potentially massive factual controversy to proceed”).

II.      THE TAC FAILS TO PLEAD PLAINTIFFS’ ANTITRUST STANDING

         A.       The TAC Does Not Plead Antitrust Standing as to Natixis and NIP

         The Opposition fails to refute that the Court overlooked the controlling aspects of

Harry v. Total Gas & Power N.A., Inc., 889 F.3d 104 (2d Cir. 2018), and distinguishing features



1
  Unless otherwise specified, all capitalized terms are as defined in Defendants’ Memorandum of Law in Support of
Motion to Reconsider (“Motion” or “Mot.”), and all internal quotation marks and citations are omitted and all
emphases added.
2
  See also Town & Country Linen Corp. v. Ingenious Designs LLC, 436 F. Supp. 3d 653, 662 n.2 (S.D.N.Y. 2020)
(“failure to raise arguments in pre-motion letters does not waive the arguments”), order vacated in part on
reconsideration on other grounds, 2020 WL 996732 (S.D.N.Y. Mar. 2, 2020). Given the truncated pre-motion
process, Defendants believe the Motion does not need to be considered pursuant to the standard of decision
applicable where full motion practice has occurred prior to a decision, but in any case this Motion highlights under
that standard matters that “might reasonably be expected to alter the conclusion reached by the court” or “to correct
a clear error or prevent manifest injustice.” Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d Cir. 1995); Virgin
Atl. Airways, Ltd. v. Nat’l Mediation Bd., 956 F.2d 1245, 1255 (2d Cir. 1992).
of Allianz Global Investors GmbH v. Bank of Am. Corp., 2020 WL 2765693 (S.D.N.Y. May 28,

2020). Under Harry, a complaint should be dismissed where it “provides just as much support

for the proposition that [plaintiffs] were benefited by [defendant]’s [conduct] as for the

proposition that they were harmed by it.” 889 F.3d at 115. Given the conspiracy they allege,

Plaintiffs must plead facts showing either that they bought EGBs at inflated prices or sold at

suppressed prices to avoid dismissal. See id. They do not, and allege only that they traded in

unspecified EGBs at unspecified times with Natixis and NIP, and, in fact, now reveal that an

unspecified “asset manager” purportedly made the trades. Under Harry, this is insufficient.3

         Plaintiffs’ contention that Harry turned not on plaintiffs’ failure to allege that they

themselves traded at artificial prices but on the fact that they alleged no facts “connecting

defendants’ actions in one market (the regional hubs) to the injury plaintiffs allegedly suffered in

another (the Henry Hub)” (Opp. at 3-4) is directly contrary to what Harry actually said:

“[setting] aside whether [plaintiffs] were part of the same market as Defendants . . . [t]here is no

actual injury the [p]laintiffs allege, let alone a connection between [d]efendants’ unlawful

conduct and that non-injury.” 889 F.3d at 116.

         Plaintiffs next contend that, “even if actual artificial prices were required to be shown,”

they do so here by alleging that “EGB auction yields were manipulated and bid-ask spreads were

made artificially wide as a result of the alleged conspiracy.” (Opp. at 4.) Not so. Under Harry,

the TAC must plausibly demonstrate more than alleged artificial EGB prices (which the bid-ask

spreads in any case fail to do, since they do not reflect actual transaction prices)—it must allege




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  E.g., In re London Silver Fixing, Ltd., Antitr. Litig., 332 F. Supp. 3d 885, 925 (S.D.N.Y. 2018) (dismissing antitrust
claims because plaintiffs “made no attempt to connect those identified instances of manipulation to artificial prices
at the time of any of their trades”). Plaintiffs acknowledge the TAC contains no explicit allegation that Ohio
Carpenters transacted with Natixis during the Class Period. (Opp. at 5 n.3). The TAC thus also does not plead that
Plaintiffs are efficient enforcers as to Natixis. (Mot. at 8.)


                                                           2
that Plaintiffs’ EGB transactions were tainted in a manner that injured, not benefited, them.

         Finally, Plaintiffs contend that Defendants “overread” Allianz as applying only in the

unique circumstances present in that case (Opp. at 5), purportedly demonstrated by earlier

rulings by Judge Schofield.4 Those rulings, however, are no more availing to Plaintiffs than

Allianz. Both pre-date Harry and thus say nothing about the circumstances under which Judge

Schofield would deem allegations adequate under Harry. Moreover, these decisions involve

allegations of market dominance.5 Plaintiffs here, by contrast, do not allege that Defendants

controlled the alleged secondary market; indeed, Defendants were only a few of a very large

number of market participants (see Mot. at 7), and did not participate in every EGB auction such

that, according to Plaintiffs’ theory of liability, they would not have been enabled to secure

supracompetitive secondary pricing in every trade. Thus, unlike Allianz, this is not a case where

the Court can infer harm to Plaintiffs from market dominance.6

         B.       The TAC Does Not Plead that Plaintiffs Are Direct Purchasers

         The Opposition confirms that the TAC does not plead facts establishing that Plaintiffs are

direct purchasers. Plaintiffs insist they adequately allege standing merely by alleging they are

“direct purchasers” (Opp. at 7-8), but conclusory allegations are insufficient. See Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 555 (2007). Moreover, the Opposition reveals that Plaintiffs




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  (See Opp. at 5-6 (citing In re Foreign Exch. Benchmark Rates Antitr. Litig., 74 F. Supp. 3d 581, 595 (S.D.N.Y.
2015) (“Forex I”), and In re Foreign Exch. Benchmark Rates Antitr. Litig., 2016 WL 5108131, at *6 (S.D.N.Y. Sept.
20, 2016) (“Forex II”).)
5
  (Mot. at 6-8.) In Allianz, defendants’ market share exceeded 90% and the alleged manipulation was pervasive.
Plaintiffs in Forex I (which Forex II followed) alleged that the colluding defendants dominated the global foreign
exchange market, with nearly 85% of all trades. 74 F. Supp. 3d at 586-87.
6
  The Court’s reliance on Allianz is not supported by State of N.Y. v. Hendrickson Bros., Inc., which pre-dates Harry
by 30 years and did not address what antitrust injury allegations would be sufficient to survive a motion to dismiss.
840 F.2d 1065, 1079 (2d Cir. 1988). In re GSE Bonds Antitr. Litig. is also inapposite, because defendants’ antitrust
injury arguments there “depend[ed] almost entirely on [defendants’] argument that plaintiffs failed to [] plead an
antitrust conspiracy”—an argument the court had already rejected. 396 F. Supp. 3d 354, 366 (S.D.N.Y. 2019).



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did not transact directly, but purportedly through an unspecified “asset manager.” (Opp. at

8.) Plaintiffs who transact through third parties must allege facts sufficient to show that they fall

under one of the exceptions to Illinois Brick Co. v. Illinois, 431 U.S. 720 (1977).7 The TAC fails

to do so, and that deficiency cannot be cured in a brief. 8

         C.       Plaintiffs Cannot Establish Antitrust Standing as to NSI

         Plaintiffs concede that they fail to allege that NSI purchased EGBs in a primary market,

conspired to fix prices of EGBs, or otherwise had any knowledge of any conspiratorial conduct.

(Opp. at 9-10.) They allege only that NSI was a sales agent of NIP. (TAC ¶¶ 69-74.) But NSI,

as a sales agent, is no more a conspirator than any third-party sales agent equally ignorant of an

alleged conspiracy. 9 Plaintiffs also concede that they have not alleged they purchased EGBs

from NSI and that the Court dismissed other Defendants which did not trade with Plaintiffs.

(Opp. at 11.) All that Plaintiffs allege is that I.B.E.W. transacted (potentially via a third-party

asset manager, as noted above) with NIP, not with NSI. (TAC ¶ 34.) As the Court properly

held, allowing Plaintiffs to proceed against Defendants which did not trade with them, “even

assuming that these defendants participated in the alleged conspiracy” might “risk speculative

assessments of injury or complex apportionment of damages.” Op. at 46-47. That same

reasoning equally applies to NSI, and Plaintiffs fail to establish otherwise. Plaintiffs essentially

admit that, under the Court’s efficient enforcer reasoning, NSI should be dismissed. While

Plaintiffs hint that they may have hoped for a different result on this issue, their failure to seek




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  See In re TDT-LCD (Flat Panel) Antitr. Litig., 2013 WL 1164897, at *3 (N.D. Cal. Mar. 20, 2013).
8
  See Eureka V LLC v. Town of Ridgefield, 535 Fed. App’x 41, 42 (2d Cir. 2013).
9
  See Hinds Cty. v. Wachovia Bank N.A., 620 F. Supp. 2d 499, 513 (S.D.N.Y. 2009) (Marrero, J.) (“Plaintiffs must
make allegations that plausibly suggest that each Defendant participated in the alleged conspiracy.”); U.S. v. Apple,
Inc., 952 F. Supp. 2d 638, 697 (S.D.N.Y. 2013) (defendant must “knowingly and intentionally” participate in
conspiracy and make a “conscious commitment to join the scheme”), aff’d, 791 F.3d 290 (2d Cir. 2015).



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reconsideration on that ground precludes considering their arguments seeking a contrary result.10

III.    THE TAC FAILS TO PLEAD JURISDICTION OVER NATIXIS AND NIP

        A.       In-Forum Marketing/Trading Is Insufficient Under Controlling Precedent

        In upholding jurisdiction over Natixis and NIP based on alleged in-forum marketing and

trading activities, the Court overlooked that only those contacts that could have subjected

Defendants to liability are “suit-related” contacts sufficient to establish personal jurisdiction

under Charles Schwab Corp. v. Bank of Am. Corp., 883 F.3d 68 (2d Cir. 2018), and Waldman v.

Palestine Liberation Org., 835 F.3d 317 (2d Cir. 2016). Because the misconduct alleged here

indisputably occurred abroad, Plaintiffs’ claims against Natixis and NIP must be dismissed.

        In Waldman, a case Plaintiffs ignore, the Second Circuit confirmed that a court must

identify suit-related conduct by analyzing defendant-specific elements of each cause of action.

835 F.3d at 331. Only conduct in, or expressly aimed at, the forum that “could have subjected

[the defendant] to liability” can support specific personal jurisdiction. Id. at 335.11 Here,

Defendants’ alleged marketing and trading activity—the only in-forum conduct alleged here—is

not misconduct that can give rise to liability under the Sherman Act. (Mot. at 13-16.) Thus,

allegations that Defendants charged fixed prices to U.S.-based persons are insufficient.

        As confirmed by numerous rulings in this District (which Plaintiffs ignore (Mot. at 15)),

Plaintiffs misconstrue Schwab in contending that in-forum transactions are sufficient.

In Schwab, plaintiffs argued that their in-forum transactions with direct-seller defendants, who

allegedly conspired abroad to suppress LIBOR, gave rise to personal jurisdiction. 883 F.3d at

82. Schwab held that while these transactions provided a basis for certain claims, they did not



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   See Royal Park Investments SA/NV v. HSBC Bank USA, N.A., 2017 WL 6403862, at *2 (S.D.N.Y. Dec. 14, 2017)
(because “HSBC failed to seek reconsideration of or object to the Order . . . it has waived the opportunity”).
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   See also id. at 337 (requiring that “defendants participated in” alleged misconduct in the forum “or that their
liability . . . resulted from their actions that did occur” there).


                                                        5
“constitute ‘suit-related conduct [that] create[ed] a substantial connection with [the forum

state]’” for claims stemming from those transactions and “premised solely on Defendants’ false

LIBOR submissions in London.” Id. at 83-84. “‘Courts typically require that the plaintiff show

some sort of causal relationship between a defendant’s U.S. contacts and the episode in suit,’ and

the plaintiffs’ claim must in some way ‘arise from the defendants’ purposeful contacts with the

forum.’” Id. at 84. Since the in-forum transactions “did not cause Defendants’ false LIBOR

submissions . . . in London” or “give rise to claims seeking to hold Defendants liable for those

submissions,” they were not suit-related conduct. Id.

         Plaintiffs’ claims here are exactly like the false LIBOR submissions claims in Schwab.

Here, as there, the alleged conduct giving rise to the “episode-in-suit”—manipulation of EGB

prices—indisputably occurred overseas. (Mot. at 13-14.) That Plaintiffs allege a “for-profit”

conspiracy—just like plaintiffs in Schwab—makes no difference. See 883 F.3d at 87 (“Schwab

argues . . . Defendants conspired . . . also ‘to earn profits’ from that manipulation.”); see also

Dennis v. JPMorgan Chase & Co., 343 F. Supp. 3d 122, 205 (S.D.N.Y. 2018) (conspiracy in

Schwab “was indeed motivated in part by financial incentives”). 12


12
  Neither Sonterra Capital Master Fund Ltd. v. Credit Suisse Grp. AG, 277 F. Supp. 3d 521 (S.D.N.Y. 2017)
(“CHF LIBOR I”), nor FrontPoint Asian Event Driven Fund, L.P. v. Citibank N.A., 2018 WL 4830087 (S.D.N.Y.
Oct. 4, 2018) (“SIBOR II”), support Plaintiffs’ arguments. CHF LIBOR I pre-dates Schwab and Judge Stein did not
have an opportunity to address whether this pre-Schwab ruling remained good law because he dismissed the case for
lack of subject matter jurisdiction. See Sonterra Capital Master Fund Ltd. v. Credit Suisse Grp. AG, 409 F. Supp.
3d 261, 266 n.4 (S.D.N.Y. 2019). Although SIBOR II—misapplying Schwab—upheld personal jurisdiction over
certain defendants based on alleged trades in the U.S. between named plaintiffs and defendants, it rejected the
expansive theory of personal jurisdiction espoused by Plaintiffs here. 2018 WL 4830087, at *7 (“Merely trading
SIBOR- and SOR-based derivatives in the United States . . . could not be a basis for jurisdiction.”). In any event,
the TAC contains no allegations regarding the location of Plaintiffs’ alleged trades with Natixis and NIP and Judge
Hellerstein later determined that he lacked subject matter jurisdiction and dismissed the action. Fund Liquidation
Holdings LLC v. Citibank, N.A., 399 F. Supp. 3d 94, 104 (S.D.N.Y. 2019). CHF LIBOR I and SIBOR II, therefore,
are no longer operative. See, e.g., Professional Traders Fund, LLC v. Prairie Oil & Gas, Inc., 521 F. Supp. 2d 313,
315 (S.D.N.Y. 2007) (vacating prior decision on motion for reconsideration for lack of subject matter jurisdiction).

Instead of addressing Moving Defendants’ authorities that reject Plaintiffs’ misinterpretation of Schwab, see Mot. at
15 (citing cases), Plaintiffs direct the Court to a transcript of an oral argument before the Second Circuit in cases



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       Nor is it significant that Plaintiffs assert antitrust claims alleging restraint of trade in the

U.S. (Opp. at 14-15.)13 Binding precedent holds that only the location of the defendant-focused

elements of a claim are relevant, not where a plaintiff was injured. Waldman, 835 F.3d at 336-

37. Here, the relevant “location” is where Natixis and NIP allegedly violated the law by

manipulating EGB prices (which Plaintiffs concede occurred outside the U.S.), not where

Plaintiffs were allegedly harmed. As to Natixis and NIP, Plaintiffs do not allege the transactions

happened in the U.S., and thus do not allege they were harmed here. Any finding that a profit

motive is sufficient to confer personal jurisdiction would make the U.S. courts the courts of

international claim regardless of where the conduct at issue took place, contravening decades of

precedent that “ma[k]e[s] clear that mere injury to a forum resident is not a sufficient connection

to the forum.” Walden v. Fiore, 571 U.S. 277, 290 (2014). It is no surprise that Judges Ramos,

Daniels, Kaplan and Buchwald—in decisions Plaintiffs cannot and do not distinguish—declined

to uphold jurisdiction over antitrust claims following Schwab. (See Mot. at 14-15 (citing cases).)

         B.       There Is No Statutory Basis To Exercise Personal Jurisdiction over NIP

         Sunward Elecs., Inc. v. McDonald, 362 F.3d 17, 22 (2d Cir. 2004) holds: “In a federal

question case, where the defendant resides outside the forum state, federal courts apply the forum

state’s personal jurisdiction rules if the applicable federal statute does not provide for national

service of process.” Because the Clayton Act’s venue provision provides for nationwide service

of process, the Clayton Act provides the applicable statutory basis for exercising personal

jurisdiction here. See Daniel v. Am. Bd. of Emergency Med., 428 F.3d 408, 423 (2d Cir. 2005);



concerning alleged manipulation of LIBOR. See Opp. at 15 n.11. The questions posed or statements made by the
panel to counsel at that oral argument, however, are not precedent, much less controlling. See Suffolk Parents of
Handicapped Adults v. Pataki, 1996 WL 285423, at *1 (E.D.N.Y. May 17, 1996).
13
   U.S. v. Trenton Potteries Co., 273 U.S. 392 (1927), lends no support as it does not address personal jurisdiction,
let alone what conduct constitutes suit-related conduct under the jurisdictional inquiry.



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Dennis, 343 F. Supp. 3d at 198. Plaintiffs do not argue that Daniel and Dennis are incorrect.14

Instead, they point to Grand River Enters. Six Nations, Ltd. v. Pryor, 425 F.3d 158, 167 (2d Cir.

2005), an inapposite case in which the court did not consider Section 12 of the Clayton Act. This

is because Defendants in that case were individuals—states’ attorneys general—whereas Section

12 applies to a “proceeding . . . against a corporation.” 15 U.S.C. § 22.

         As the Clayton Act applies, Plaintiffs bear the burden of establishing that NIP “transacts

business” in the forum, which refers to “[t]he practical, everyday business or commercial

concept of doing business or carrying on business of any substantial character.” United States v.

Scophony Corp. of Am., 333 U.S. 795, 807 (1948). Plaintiffs must provide “factual

corroboration” for such allegations. See In re SSA Bonds Antitr. Litig., 420 F. Supp. 3d 219,

230-31 (S.D.N.Y. 2019) (failure to provide factual corroboration was the “type of ‘legal

conclusion couched as factual allegation’ that courts need not accept as true”); Dennis, 343 F.

Supp. 3d at 200. Plaintiffs’ contrary assertion based on Chloe v. Queen Bee of Beverly Hills,

LLC, 616 F.3d 158, 163 (2d Cir. 2010)) (Opp. at 17), is misplaced, as the plaintiff there provided

a declaration to support jurisdiction, supplying factual corroboration. See id. at 166. Plaintiffs

point to no factual corroboration in the TAC, and remain silent as to whether the alleged trade

between I.B.E.W. and NIP occurred in the U.S., much less this venue. (Mot. at 19; Opp. at 8.)

         Nor can Plaintiffs establish a statutory basis for personal jurisdiction over NIP by arguing

NSI was NIP’s in-forum agent. Plaintiffs dispute the applicability of Jazini v. Nissan Motor Co.,

148 F.3d 181, 184 (2d Cir. 1998), asserting the New York long-arm statute applies instead, and


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  Plaintiffs incorrectly argue that Daniel held “the Clayton Act provides an alternative statutory basis for personal
jurisdiction.” (Opp. at 17 n.12.) Daniel provides that Section 12 of the Clayton Act may provide an alternative to 28
U.S.C. § 1391 as a basis for venue, but nothing in the opinion provides a basis for the proposition that Plaintiffs can
pick between the Clayton Act or state long-arm statute as a statutory basis for personal jurisdiction. Daniel, 428
F.3d at 427.



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requires—per Schwab15—that the agent act “for the benefit of, with the knowledge and consent

of, and under some control by, the nonresident principal.” But the TAC does not even satisfy

Plaintiffs’ own rule; it asserts that NIP and NSI are affiliates (TAC ¶ 71) and conclusorily alleges

that NIP acted “on its own behalf and through [NSI]” in the U.S. (TAC ¶ 68). Schwab and

Jazini both hold that conclusory allegations of agency are insufficient for personal jurisdiction.16

IV.      PLAINTIFFS’ SHERMAN ACT CLAIMS ARE TIME-BARRED

         Plaintiffs cannot plead fraudulent concealment because they admit they failed to pursue

claims under its diligence prong. Under Singh v. Cigna Corp., 918 F.3d 57 (2d Cir. 2019),

Plaintiffs cannot excuse this failure based on generic statements in Defendants’ Codes of Ethics,

which the TAC does not even allege Plaintiffs relied on.17 Plaintiffs’ effort to distinguish Singh

on the basis that it is a securities fraud case (Opp. at 19) is unavailing; the same reasonable

investor standard applies in both the securities fraud and fraudulent concealment contexts. (Mot.

at 20-21.)18 The Opposition’s reiteration of statements in the Defendants’ Codes of Ethics is the

same type of generic “declarations about the importance of acting lawfully and with integrity”

Singh held are “too general to cause a reasonable investor to rely upon them.” 918 F.3d at 63.19




15
   Schwab describes the statute as merely “instructive,” rather than as a controlling standard. 883 F.3d at 85.
16
   See Schwab, 883 F.3d at 85-86 (“bare allegations” that Defendants “controlled or otherwise directed or materially
participated in the operations of th[e] broker-dealers, [and] reaped proceeds or other financial benefits from the
broker-dealers’ sales of LIBOR-based financial instruments” “are too conclusory to make a prima facie showing of
personal jurisdiction”); Jazini, 148 F.3d at 185 (“[A]llegations that Nissan U.S.A. is a ‘mere department’ of Nissan
Japan lack the factual specificity necessary to confer jurisdiction.”).
17
   Cf. Op. at 36; Hinds Cty. v. Wachovia Bank N.A., 700 F. Supp. 2d 378, 400 (S.D.N.Y. 2010) (Marrero, J.).
18
   Accord Penn. Pub. Sch. Emps.’ Retirement Sys. v. Bank of Am. Corp., 874 F. Supp. 2d 341, 367-68 (S.D.N.Y.
2012); In re Zyprexa Prods. Liability Litig., 549 F. Supp. 2d 496, 541 (E.D.N.Y. 2008).
19
   Plaintiffs’ further contention that “Defendants failed to advance this new code of ethics argument” earlier omits
that the TAC does not allege Plaintiffs relied on the codes of ethics to excuse due diligence, and Plaintiffs raised the
codes of ethics in their pre-motion response letter for the first time to seek to excuse their failure to exercise due
diligence (Dkt. No. 114 at 3 (citing TAC ¶ 260)); Defendants did not have an opportunity to respond given the rules
governing pre-motion letters and, in any case, as noted in Section I, the pre-motion letter process does not preclude
elaboration here.



                                                           9
V.       THE TAC FAILS PLAUSIBLY TO ALLEGE A CONSPIRACY

         Plaintiffs fail to refute that Figure 12 of the TAC does not adequately allege that Natixis,

NIP or NSI participated in any conspiracy. First, they offer no response to case law establishing

that analyses like Figure 12—based on opaque data and accompanied by no allegations

providing any indicia of the data’s reliability—are insufficient. (Mot. at 21-24.) Second,

Plaintiffs’ contention that Figure 12 sufficiently alleges parallel conduct because “parallel

pricing need not be identical to support the inference of conspiracy” (Opp. at 24) ignores that

Figure 12 offers no allegations regarding prices whatsoever, parallel or otherwise. 20 Third,

Plaintiffs are wrong that Defendants impermissibly ask this Court to draw adverse inferences by

pointing out that Figure 12 has “obvious alternative explanations.” (Opp. at 24.) This Court can

and must make this determination on a motion to dismiss, 21 contrary to the stated assumption of

the Decision, Op. at 55, and market information cited in the TAC itself shows that EGB bond

price trends observed in Figure 12 have obvious, non-collusive explanations. 22 Fourth, while the

Court noted that Figure 12 relates only to Italian EGBs and that Natixis and NSI were not

primary dealers in such bonds, Plaintiffs’ response ignores (and the Court overlooked) that the

secondary market conspiracy Plaintiffs allege—predicated on resale of EGBs acquired by

Defendants in the primary market (TAC ¶ 150)—does not plausibly allege either Natixis or NSI

would have any motive, incentive or ability to collude in the secondary market for Italian EGBs.




20
   The complaint in In re Blood Reagents Antitr. Litigation, on which Plaintiffs rely, offered specific details (absent
here) about defendants’ parallel price increases or price demands demonstrating that some of these indeed were
nearly identical. 756 F. Supp. 2d 623, 626-27 (E.D. Pa. 2010).
21
   Trump, 2020 WL 4861980, at *16 (“Rule 12(b)(6) require[s] this Court to consider [obvious alternative]
possibilities when determining the plausibility of a complaint’s allegations.”).
22
   See Roel Beetsma et al., Price Effects of Sovereign Debt Auctions in the Euro-Zone: The Role of the Crisis,
Working Paper Series (No. 1595) (Sept. 2013) (finding primary and secondary market trends in Italian EGB yields
after 2007 best explained by primary dealers’ requiring compensation for inventory risk, which needs to be higher
when market uncertainty is larger) (cited at TAC ¶ 207 n.22).


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